Exhibit 3
                                                      List of Telephone Devices for KAS Custodians in Relevant Period


                Device/Model             Phone Number          IMEI                           First Known Use       Last Known Use   Backups     Reason      for
                                                               And                                                                   available   replacement
                                                               # PIN/Serial
 Neil Gerrard
 Blackberry devices
      1.        Blackberry 9790          7904611977            359202047837579                05/10/2012            12/07/2013       Yes         Lost
                                                               2a6b0191
      2.        Blackberry 9790          7904611977            354091051142025                12/07/2013            17/07/2013       Yes         Faulty (unable
                                                               2b19e9d8                                                                          to hear calls)

      3.        Blackberry 9790          7904611977            354091055121991                17/07/2013            27/09/2013       Yes         Faulty (delays
                                                               2afce4e8                                                                          receiving mail)

      4.        Blackberry 9790          7904611977            359202045323150                27/09/2013            16/10/2013       Yes         Faulty   (slow
                                                               2b1b9e7d                                                                          performance)

      5.        Blackberry 9720          7904611977            357861052707449                16/10/2013            02/12/2013       No          Lost
                                                               2B540757
      6.        Blackberry 9720          7904611977            357861053040139                02/12/2013            18/12/2013       Yes         Faulty (due to
                                                               2B572193                                                                          performance
                                                                                                                                                 issues)
      7.        Blackberry 9720          7904611977            357861052365107                18/12/2013            07/02/2014       Yes         Replaced (due
                                                               Unknown                                                                           to      concerns
                                                                                                                                                 that its security
                                                                                                                                                 had         been
                                                                                                                                                 compromised)
      8.        Blackberry 9720          7588836638            357861052750894                07/02/2014            12/08/2014       No          Temporarily
                                                               Unknown                                                                           mislaid

      9.        Blackberry 9720          447508836638          357861053038539                12/08/2014            22/08/2014       Yes         Faulty
                                                               2B571D7A

Error! Unknown document property name.



                                                                                                                                                          2009
                                                                                                                                                            43
    10.     Blackberry 9720      447508836638   351758065233684   22/08/2014   10/04/2015   No    Stolen
                                                2BC69596
    11.     Blackberry 9720      447508836638   351758062878739   13/04/2015   17/08/2015   Yes   Upgraded
                                                2BAD11DA
    12.     Blackberry Classic   7508836638     359892052703201   16/07/2015   Unknown      No    Unknown
                                                Unknown
    13.     Blackberry Classic   7508836638     359892053968662   17/02/2016   11/09/2017   No    Temporarily
                                                2C177156                                          mislaid,    and
                                                                                                  then reissued to
                                                                                                  another
                                                                                                  member of the
                                                                                                  firm
    14.     Blackberry Key2 LE   7790375825     356836090464170   07/02/2019   18/11/2020   No    Returned      to
                                                                                                  Dechert IT team
Nokia devices
    1.      Nokia C5.00          7506910526     356989040655312   24/04/2013   23/07/2013   No    Lost
                                                N/A
    2.      Nokia 301            7506910526     355520056224668   24/07/2013   06/02/2014   Yes   Replaced (due
                                                N/A                                               to      concerns
                                                                                                  that its security
                                                                                                  had         been
                                                                                                  compromised)
    3.      Nokia 301            7506910526     358338052622315   07/02/2014   08/05/2014   No    Lost
                                                N/A
    4.      Nokia 301            7506910526     359956059371880   09/05/2014   29/06/2017   No    Lost
                                                N/A
    5.      Nokia 222            7506910526     354881080370724   29/06/2017   10/07/2017   No    Faulty      (not
                                                N/A                                               working in US)

    6.      Nokia 301            7506910526     355520050866803   10/07/2017   17/10/2017   No    Lost
                                                N/A
                                                                                                               2 (6)


                                                                                                           2010
                                                                                                             44
       7.    Nokia 301                7506910526     358338056185665   17/10/2017   10/01/2019     Yes         Damaged
                                                     N/A
       8.    Nokia 301                7506910526     355524051068849   10/01/2019   21/10/2020     CDS Image   -
                                                     N/A
iPad
       1.    iPad 2                   447415106049   12670007322072    10/12/2013   06/02/2017     No          Unknown
                                                     DN6FQQC3DFJ2
       2.    iPad Pro with Wi-Fi +    447415106049   358718093632854   11/01/2019   Still in Use   CDS Image   -
             Cellular   (12.9-inch,                  DLXXQ0GBKC5J
             3rd generation) (512
             GB Space Gray)
iPhone
       1.    iPhone 6 Plus (64 GB     440477607962   359246061929549   27/10/2016   04/03/2018     No          This was a
             Space Grey)                             F2LPK0S7G5QV                                              personal device
                                                                                                               used for firm
                                                                                                               work
       2.    iPhone 8 Plus 64GB       447760407962   357400091789686   12/02/2019   Still in Use   CDS Image   -
             Space Grey                              FD4XX2W2JCM2
David Hughes
       1.    Blackberry 9720          447984196468   351758065845735   12/09/2014   13/07/2015     No
                                                     2AECFF32
       2.    Blackberry 9720          447725065367   351758065845735   15/04/2015   15/04/2015     Yes
                                                     2BCB76F8
       3.    Blackberry Classic       Unknown        Unknown           03/07/2016   29/11/2016     No
                                                     2C2C79E1
Caroline Black
       1.    Blackberry 9790          7534451019     354091054128963   25/04/2013   28/04/2014     No
                                                     24EE753B


                                                                                                                          3 (6)


                                                                                                                     2011
                                                                                                                       45
    2.       Blackberry 9720          7534451019     357861055309656   05/05/2014   16/03/2015     Yes
                                                     2B6682FB
    3.       Blackberry 9720          447534451019   356712062563010   16/03/2015   20/07/2015     Yes
                                                     2C016B6A
    4.       IPHONE 6 64GB            7534451019     359310061331278   03/08/2015   27/02/2020     No
                                                     C39PT0G2G5MR
    5.       iPhone   XR,    128gb,   447534451019   356458101266724   27/02/2020   Still in Use   No
             Black                                   FFWZK5YSKXK6
Gavin Watson
    1.       iPhone 6 (64 GB Space    971503445252   356984060762791   15/08/2016   04/03/2018     No
             Grey)                                   C39NQHU5G5MR
Hannah Rashid
    1.       iPhone 7 (32 GB Black)   971525619100   355324085993850   15/06/2017   04/03/2018     No
                                                     F4GT6KMZHG7F
Jonah Anderson
    1.       Blackberry 9790          7506910508     359202044626835   13/07/2012   06/01/2014     Yes
                                                     29C39591
    2.       Blackberry 9790          7506910508     359202047837595   09/12/2013   07/01/2014     Yes
                                                     2A6B0198
    3.       Blackberry 9720          7506910508     359202045323150   07/01/2014   29/09/2014     Yes
                                                     2B1B9E7D
    4.       Blackberry 9720          7506910508     357861053038539   29/09/2014   10/02/2015     Yes
                                                     2B571D7A
    5.       Blackberry 9720          7506910508     351758062432941   10/02/2015   08/05/2015     No
                                                     2BA56D5D
Joseph Carroll
    1.       Blackberry 9320          447930401551   355419059492952   03/06/2013   06/10/2014     No

                                                                                                           4 (6)


                                                                                                         2012
                                                                                                           46
                                                       2AECFF32
    2.        Blackberry 9790           447930401551   354091054659504   13/10/2014   13/05/2016   No
                                                       2ACFA9DA
Karen Coppens
    1.        Blackberry 9360           7508836634     351602057515494   15/08/2012   16/05/2016   No
                                                       2A3875C5
    2.        Blackberry Classic        447508836634   359892054808446   26/05/2016   16/12/2016   No
                                                       2C216C61
    3.        Blackberry Classic        447508836634   359892054538563   16/01/2017   12/03/2017   No
                                                       2C1EB372
    4.        iPhone SE(16         GB   447508836634   359224076274631   21/02/2017   04/03/2018   No
              Space Gray)                              DX3SQFVGH2XJ
Lloyd Firth
    1.        Blackberry 9360           7904611925     351602057505354   06/08/2012   13/03/2015   No
                                                       2A3865D1
    2.        Blackberry 9220           Field Empty    358208052322390   11/11/2013   Unknown      No
                                                       2B514D94
Stephen McDaid
    1.        Blackberry 9360           7903536744     351602052851142   11/04/2013   16/10/2013   No
                                                       29603882
    2.        Blackberry 9720           7506654806     356712060359098   31/12/2014   Unknown      No
                                                       2BC694D7
    3.        Blackberry 9720           7506654806     356712060363496   15/04/2015   Unknown      No
                                                       2BEFA838
    4.        Blackberry 9720           7506654806     351758065233254   02/11/2015   09/11/2015   No
    5.        Blackberry 9720           7506654806     356712063637136   18/11/2015   25/01/2016   Yes
                                                       2C0AB91D

                                                                                                           5 (6)


                                                                                                         2013
                                                                                                           47
    6.      Blackberry Classic   7506654806   359892051981097   25/01/2016   22/08/2017   No
                                              2C01B57D
William Fotherby
    1.      Blackberry Classic   7790375207   359892052129829   04/12/2015   11/09/2017   No
                                              2C030B3A
    2.      iPhone SE (32 GB     7790375207   353066094395161   24/07/2018   18/02/2019   No
            Space Gray)                       DX4WH76JHTVL




                                                                                                 6 (6)


                                                                                               2014
                                                                                                 48
